






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00237-CV







Oralia Martinez a/k/a Oralia Babb, Appellant


v.


Robert Arnold Babb, Appellee








FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 395TH JUDICIAL DISTRICT

NO. 97-1475-F277-395, HONORABLE MICHAEL P. JERGINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	Appellant filed her notice of appeal on April 23, 2003.  On May 28, the Williamson
County District Clerk informed this Court that arrangements had not been made to pay for the clerk's
record and that the district clerk understood that appellant was not going to pursue her appeal.  On
July 30, the Clerk of this Court sent appellant notice that the reporter's and clerk's records were
overdue.  The Clerk explained that the district clerk believed the appeal was not being pursued, and
informed appellant that if the clerk's and reporter's records were not filed in this Court by August
15, the appeal would be subject to dismissal for want of jurisdiction.  To date, appellant has not
replied and the record has not been filed. 


	We therefore dismiss the appeal for want of prosecution.  Tex. R. App. P. 42.3(b).



					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Dismissed for Want of Prosecution

Filed:   October 30, 2003


